          Case 1:19-cv-09004-MKV Document 18 Filed 05/19/20 Page 1 of 1



UNITED STATES DISTRICT COURT                                        USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                       DOCUMENT
                                                                    ELECTRONICALLY FILED
 TRUSTEES OF THE DRYWALL TAPERS                                     DOC #:
 AND POINTERS LOCAL UNION NO. 1974                                  DATE FILED: 5/19/2020
 BENEFIT FUNDS, and THE DISTRICT
 COUNCIL NO. 9, DRYWALL TAPERS AND
 POINTERS OF GREATER NEW YORK
 LOCAL UNION 1974, AFFILIATED WITH
 INTERNATIONAL UNION OF PAINTERS                                   1:19-cv-9004 (MKV)
 AND ALLIED TRADES, AFL-CIO,
                                                                          ORDER
                             Plaintiffs,

                     -against-

 UNIVERSAL DRYWALL FINISHING, INC.,

                             Defendants.

MARY KAY VYSKOCIL, United States District Judge:

        On April 23, 2020, the Court held a hearing by telephone on Plaintiffs’ motion for default

judgment and issued an Order granting Plaintiffs’ motion for default judgment only as to liability

[ECF #10, 17] The Court found it necessary to conduct an inquest on the amount of damages,

and therefore directed Plaintiffs to file an affidavit providing a more detailed account of the basis

for their calculation of the principal sum of $295,499.41 that Defendant allegedly owes in unpaid

contributions to the benefit funds and of their requested 5.25% interest rate. The Court also

directed Plaintiffs to serve that affidavit on Defendant. Nearly a month has passed, and Plaintiffs

have not acted on the Court’s April 23, 2020 Order. Accordingly, IT IS HEREBY ORDERED

that, if Plaintiffs still seek a judgment on damages, Plaintiffs shall file and serve the affidavit

described in the Court’s Order by May 29, 2020.

SO ORDERED.
                                                        _________________________________
Date: May 19, 2020                                      MARY KAY VYSKOCIL
      New York, NY                                      United States District Judge
